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                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

FREDERICK MAURICE ASHMORE,                     )
                                               )
      Plaintiff,                               )
                                               )
      v.                                       )   CIVIL ACT. NO. 3:21-cv-390-ECM
                                               )              (WO)
DETECTIVE WHITE, et al.,                       )
                                               )
      Defendants.                              )

                                  OPINION and ORDER

       On September 14, 2021, the Magistrate Judge entered a Recommendation (doc.

13) to which no timely objections have been filed. After an independent review of the

file and upon consideration of the Recommendation, it is

       ORDERED that the Recommendation of the Magistrate Judge is ADOPTED,

and this case is DISMISSED without prejudice for the Plaintiff’s failure to comply with

the orders of this Court.

      A separate Final Judgment will be entered.

      Done this 12th day of October, 2021.


                                       /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
